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                                IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF NEW MEXICO


RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

          Plaintiff,

v.                                                      Civ. No. 12-758 JAP/ACT

TESLA MOTORS, INC., a Delaware
corporation,

          Defendant.


                           ORDER SETTING RULE 16 SETTLEMENT CONFERENCE

          In an effort to facilitate a final disposition of this case, a mandatory settlement conference will be conducted

in accordance with the provisions of the Federal Rules of Civil Procedure 16(a)(5) on Thursday, March 7, 2013, at

9:30 a.m., at the Pete V. Domenici United States Courthouse, ADR Rooms 3 and 4, third floor, 333 Lomas Blvd.,

NW, Albuquerque, New Mexico.1 The Court has set aside the entire day for this settlement conference, and

participants should be prepared to work through the noon hour and into the evening, if necessary. Motions to

reschedule the settlement conference must be filed no later than fourteen (14) days prior to the date of the

settlement conference. Motions to reschedule the settlement conference filed after this date may be considered

untimely in the discretion of the Court.

          The parties or a designated representative, other than counsel of record, with full and final settlement

authority must attend in person (this requirement cannot be satisfied by hiring a local representative if the

appropriate representative resides in another state).2 Similarly, lead counsel who will try the case must attend in

person.

          Prior to the conference, counsel are required to confer with one another and exchange written offers and

counter offers in a good-faith effort to resolve the litigation. If settlement is not achieved before the settlement


          1
          Counsel and parties need not report to my chambers but are to go directly to the ADR rooms. Counsel
should advise clients and representatives that camera phones are not permitted in the courthouse.

          2
              Individually named defendants must attend in person unless excused by the Court upon written request.
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conference, the parties must be prepared to engage in further good-faith negotiations and exchange additional offers

and counter offers at the settlement conference.3

         Each party must provide the Court, in confidence, a concise statement (no more than 10 pages) of the legal

issues and the evidence the party expects to produce at trial at least ten (10) calendar days before the conference.4

The statements should also contain a brief discussion of the following: the relevant facts; analysis of the applicable

law; strengths of the case; weaknesses of the case; status of discovery; identification of any pending motions; an

outline or itemization of damages or relief requested; and status of settlement negotiations to date. Statements may

be submitted to the Court by facsimile at (505) 348-2385 or by e-mail at actproposedtext@nmcourt.fed.us.

         At the settlement conference the parties, by counsel, may be asked to give a brief presentation outlining the

factual and legal highlights of their case. Then separate, confidential caucuses will be held with each party and the

party’s attorney(s) and representative(s).

         IT IS SO ORDERED.



                                                       _____________________________________
                                                       ALAN C. TORGERSON
                                                       UNITED STATES MAGISTRATE JUDGE


Please direct any inquiries to (505) 348-2380

A true copy of this Order was served on the
date of entry-via mail or electronic means-
to counsel of record and any pro se party as
they are shown on the Court’s docket.




         3
             See Schwartzman, Inc. v. ACF Industries, Inc., 167 F.R.D. 694 (D.N.M. 1996)
         4
          Counsel will be required to attend a show cause hearing and may be assessed a sanction of up to $100 for
each day the position paper is late unless a written request for an extension is received and approved by the Court.

                                                           2
